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                                          Wednesday, 25 June, 2008 10:57:43 AM
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                            s/ Michael M. Mihm
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